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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS
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IN RE NEURONTIN MARKETING AND                      )   MDL Docket No. 1629
SALES PRACTICES LITIGATION                         )
                                                   )   Judge Patti B. Saris
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THIS DOCUMENT RELATES TO:                          )
                                                   )
Harden Manufacturing Corp. v. Pfizer, Inc., et al )    Civil Action No. 04-10981
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The Guardian Life Ins. Co. v. Pfizer, Inc., et al. )   Civil Action No. 04-10739
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Aetna, Inc. v. Pfizer, Inc., et al.                )   Civil Action No. 04-10958
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Teamsters Health & Welfare Fund of Philadelphia )      Civil Action No. 04-10984
and Vicinity v. Pfizer, Inc., et al                )
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Emma B. Christina v. Pfizer, Inc., et al           )   Civil Action No. 04-1450
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Debra Mull v. Pfizer, Inc., et al.                 )   Civil Action No. 04-1489
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Annie D. Blevins v. Pfizer, Inc., et al.           )   Civil Action No. 6:04-1162
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ASEA/AFSCME Local 52 Health Benefits Trust )           Civil Action No.04-02577
and Brian Krah v. v. Pfizer, Inc., et al.          )
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Maggie Dorty v. Pfizer, Inc., et al.               )   Civil Action No. 04-1547
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Dianne Hood v. Pfizer, Inc., et al                 )   Civil Action No. 04-1575
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Joyce B. Duhe v. Pfizer, Inc., et al.              )   Civil Action No.04-1591
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Tammylee Willoz v. Pfizer, Inc., et al                )   Civil Action No. 04-1234
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Gulf Distributing Holdings, LLC v. Pfizer, Inc.,et al.)   Civil Action No. 04-0403
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Mary Jane Gordon v. Pfizer, Inc., et al.              )   Civil Action No. 04-552
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Lorraine Kopa v. Pfizer, Inc., et al                  )   Civil Action No. 04-4593
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Julie K. Bakle v. Pfizer, Inc., et al.                )   Civil Action No. 2:04-2935
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Patricia Ann White v. Pfizer, Inc., et al.            )   Civil Action No. 04-1712
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Sylvia G. Hyman v. Pfizer, Inc., et al.               )   Civil Action No. 3:04-215
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Mary Lou Lienerth v. Pfizer, Inc., et al.             )   Civil Action No. 04-1161
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Brenda Straddeck v. Pfizer, Inc., et al.              )   Civil Action No. 04-4106
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Claudia Lang v. Pfizer, Inc., et al.                  )   Civil Action No. 5:04-234
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Johnny Ray Meeks, et al. v. Pfizer, Inc., et al.      )   Civil Action No. 04-1781
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Gerald Smith v. Pfizer, Inc., et al.                  )   Civil Action No. 1:04-1052
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John Lerch v. Pfizer, Inc., et al.                    )   Civil Action No. 0:04-3021
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James Hope v. Pfizer, Inc., et al.                    )   Civil Action No. 5:04-248
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Clifford Eckenrode v. Pfizer, Inc., et al.            )   Civil Action No. 3:04-240
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James Doyle v. Pfizer, Inc., et al.       )                  Civil Action No. 2:04-2509
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          PLAINTIFFS’ MOTION FOR APPOINTMENT OF COUNSEL
                TO PLAINTIFFS’ STEERING COMMITTEE



       NOW COME the Plaintiffs in the above-referenced matters and move this Court

for appointment of certain Plaintiffs’ counsel as Plaintiffs’ Liaison Counsel, Class

Plaintiffs’ Steering Committee Members and Plaintiffs’ Non-Class Steering Committee

Members, as further outlined below;

       WHEREAS, on November 23, 2004, this Court conducted an initial status

conference during which, in part, the Court directed that the parties file a proposed order

on or before December 15, 2004 dealing, inter alia, with the structure and organization of

Plaintiffs’ counsel; and

       WHEREAS, the parties have contemporaneously filed herewith a [Proposed]

Case Management Order.

       ACCORDINGLY, the undersigned Plaintiffs’ counsel seek appointment as

Plaintiffs’ Liaison Counsel, Class Plaintiffs’ Steering Committee Members and Plaintiffs’

Non-Class Steering Committee Members, with the duties and responsibilities outlined in

Section III (Organization of Counsel) of the [Proposed] Case Management Order, as

indicated below:
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1.    As Plaintiffs’ Liaison Counsel:

             Thomas M. Sobol, Esquire
             Hagens Berman LLP
             One Main Street, 4th Floor
             Cambridge, MA 02142
             617-482-3700
             617-482-3003
             (Qualifications attached hereto at Exhibit A)


2.    As Class Plaintiffs’ Steering Committee Members:

             Don Barrett, Esquire
             Barrett Law Office
             404 Court Square North
             P.O. Box 987
             Lexington, MS 39095
             (Qualifications attached hereto at Exhibit B)


             Daniel Becnel, Jr., Esquire
             Law Offices of Daniel Becnel, Jr.
             106 W. Seventh Street
             P.O. Drawer H
             Reserve, LA 70084
             (Qualifications attached hereto at Exhibit C)


             James Dugan, Esquire
             Dugan & Browne
             650 Poydras St., Suite 2150
             New Orleans, LA 70130
             (Qualifications attached hereto at Exhibit D)


             Thomas Greene, Esquire
             Greene & Hoffman
             125 Summer Street
             Boston, MA 02110
             (Qualifications attached hereto at Exhibit E)
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               Thomas M. Sobol, Esquire
               Hagens Berman LLP
               One Main Street, 4th Floor
               Cambridge, MA 02142
               (Qualifications attached hereto at Exhibit A)

               Barry Himmelstein, Esquire
               Lieff Cabraser Heimann & Bernstein
               Embarcadero Center West
               275 Battery Street, 30th Floor
               San Francisco, CA 94111-3339
               (Qualifications attached hereto at Exhibit F)


3:     As Plaintiffs’ Non-Class Steering Committee Members:

               Linda P. Nussbaum, Esquire
               Cohen Milstein Hausfeld & Toll P.L.L.C
               150 East 52nd Street
               Thirteenth Floor
               New York, NY 10022
               (Qualifications attached hereto at Exhibit G)

               Richard Cohen, Esquire
               Lowey Dannenberg Bemporad & Selinger, P.C.
               The Gateway
               One North Lexington Avenue
               White Plains, NY 10601
               (Qualifications attached hereto at Exhibit H)


       A declaration in support of each counsel’s requested appointment, along with

information concerning their firm and its qualifications, are attached hereto as exhibits, as

indicated above.

Dated: December 15, 2004
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Respectfully Submitted,

Proposed Plaintiffs’ Liaison counsel



By:     /s/ Thomas M. Sobol
       Thomas M. Sobol
       Hagens Berman LLP
       One Main Street, 4th Floor
       Cambridge, MA 02142


Proposed Members of the
Class Plaintiffs’ Steering Committee

By:     /s/ Don Barrett
       Don Barrett, Esquire
       Barrett Law Office
       404 Court Square North
       P.O. Box 987
       Lexington, MS 39095

By:     /s/ Daniel Becnel
       Daniel Becnel, Jr., Esquire
       Law Offices of Daniel Becnel, Jr.
       106 W. Seventh Street
       P.O. Drawer H
       Reserve, LA 70084


By:     /s/ James Dugan
       James Dugan, Esquire
       Dugan & Browne
       650 Poydras St., Suite 2150
       New Orleans, LA 70130


By:     /s/ Thomas Greene
       Thomas Greene Esquire
       Greene & Hoffman
       125 Summer Street
       Boston, MA 02110
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By:     /s/ Barry Himmelstein
       Barry Himmelstein, Esquire
       Lieff Cabraser Heimann & Bernstein
       Embarcadero Center West
       275 Battery Street, 30th Floor
       San Francisco, CA 94111-3339


Proposed Members of the
Plaintiffs’ Non-Class Steering Committee



By:    /s/ Richard Cohen
       Richard Cohen, Esquire
       Lowey Dannenberg Bemporad
       & Selinger, P.C.
       The Gateway
       One North Lexington Avenue
       White Plains, NY 10601



By:     /s/ Linda P. Nussbaum
       Linda P. Nussbaum, Esquire
       Cohen Milstein Hausfeld & Toll
       150 East 52nd Street
       Thirteenth Floor
       New York, NY 10022
